1:23-cv-01184-CRL-JEH # 318-16   Filed: 04/22/24   Page 1 of 2




            Exhibit 1
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                                                                                                             liUPPLEMENl AHY Htl'UH I - /
Page             l
,. OFFENSE CLASSIFICATION

     Murder IIBII
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                                                                                                                       r
                                                                                                                    CONTINUATION SHEET # 318-16
                                                                                                                   1:23-cv-01184-CRL-JEH
                                                                                                                             INC, COOE

                                                                                                                                  1-20-77
                                                                                                                                                                r        DATE OF THIS REPORT
                                                                                                                                                                                                                          PEORIA POLICE DEPARTMENT
                                                                                                                                                                                                                                                   r0   Filed: 04/22/24
                                                                                                                                                                                                                                                          CLASSIFICATION

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                                                                                                                                                                                                                                                                                  r       FROM
                                                                                                                                                                                                                                                                                                        Page 2 of 2
                                                                                                                                                                                                                                                                                            INCIOENT COOE CHANGE

                                                                                                                                                                                                                                                                                                                         TO
                                                                                                                                                                                                                                                                                                                                                         I REL. CASE NO."S
                                                                                                                                                                                                                                                                                                                                                                                   77-01588


,,1"                            ec' ,.SEC C                            , . SEC E .. NAME AND/OR ALIAS                                                                                                 .. ADDRESS INO., CITY, STATE, ZIP]
                                                                                                                                                                                                                                                           CHANGE NEEDED
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          3/F ,, Schwark, Susan UNK
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  <
 SEC. A·
                 0
               A-Arrested
                                /\J       s       Di:
                                B-Bu,ines,, Firm, A<J•ncv
                                                                       N/1
                                                                   C-Complainan1
                                                                                      Atkinson. William
                                                                                       BR-Bartender       M-M,.,,ng, Runaway              P-Paront, Guard,an
                                                                                                                                                                   /
                                                                                                                                                                           S-Su,pect          V-V,ct>m
                                                                                                                                                                                                           2910 w. Malone
                                                                                                                                                                                                            W-Wnno<>        0-0ther (Nar.l
                                                                                                                                                                                                                                                                                                                     637-8034                         UNK                         UNK
 SEC. B        K-Dead Belo,e Report           0-No lnd1cat1on of Injury           A-Bleed,r,g, Carr;ed from Scene       B-v;s,ble Injury           C-No V1>1ble ln1ury, Momentary Uncomc,ous. Compla,n of Pain

 SEC. C·       $-Sober      0-Been DMk1ng             1-lnto<ica,e<i/Undor Influence      0-0ther lQe,cr,be ,n Narr.I

 SEC. D:
,. Nu.
               M-Mole
               HGT.
                            F-femalo


                                          r
                                           U-Unknown           I   W-Whne      N-N~rn       M-Me,ican      J-Japane,e


                                                                                                                    ;;Kr
                                                                                                                            I-Indian        P- Puerto R,can                C-Chine,e         0-0thor
                                                                                                                                                                                                          ,. PANTS/SKIRT
                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                     SEC. E:             POL-On Duty Police



                                                                                                                                                                                                                                                                      r';~K
                                                                                                                                                                                                                                                                                     00-01! Outy Pol1co

                                                                                                                                                                                                                                                                                                                           rlOENTIFIABLE PHYSICAL CHARACTERISTICS

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                            u;;TK              HAI;;)                                                                                 ; ; s ; !DESC,J rc;~E~ON                                                                             SH;t;SE                                               rHA;;PK
      2 UNK                                                                                                                                                                                                         UNK                                                                                                          UNK
,. V,l,N. NO

                                                                         r r" 0
                                                                              □ SUSPECT
                                                                                  ""'"
                                                                                                                   MAKE
                                                                                                                                                       MODEL
                                                                                                                                                                                       F STYLE
                                                                                                                                                                                                           ,.       ,oe   COLO:OTTOM           r        UC. NO.
                                                                                                                                                                                                                                                                                             "              '"          ,. OTHER DESC. DATA
                                                                                                                                                                                                                                                                                                                                                                                               r   VALUE        r    COO,
                                                                                                                                                                                                                                                                                                                                                                                                                                      OLIS

 N/A
,. TYPE PROPERTY
                                                                              □ OTHER
                                                                                        COOE
                                                                                                         10~@]~ rMSe
                                                                                                                   ~
                                                                                                                                                                                        MODEL NO
                                                                                                                                                                                                                    r SER. NO.
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                                                                                                                                                                                                                                                                                r   COLOR
                                                                                                                                                                                                                                                                                                 r••cce                    OTHER OESC. DATA                                                                                           OLIS

  N/A                                                                                                                                                                              I
"'N/A                                                   !CIO                                                   :PHOTO                                                                  <PATROL SGT.

                                                                                                                                                                                       i
                                                                                                                                                                                                                                                   \CORONER                                                :OTHER
                                                                                                                                                                                                                                                                                                                                                               ''
                                                        '                                                      '                                                                       :                                                           ''                                                      '                                                   :'
         CONTINUATION                                                         NARRATIVE:
          SHEET ONLY                                       □                                                   ,#1 ota ted that at a~oximatley 0840- Hrs, 1-18-;-,77, as she
                                                                                                                                                                          .
                                                                                                                                                                             was leaving her residence at
  _,.., .,~ \"u             u             - •               u••~              --- .-...,:u. ct            ~r.1·1                           ,fS         vv;U              ...,.._       t.,.._...,     .._....,._.,..,..., d.U         .JV.J.J            ~·~   -------•                        tr ... ,..n ..a ........ ..,A,. .::,u_..,...,...., .., ........ .., ....., ....., ....... ..,       6 ,._,u1.1..1..... 6     vi.1.
 a City·Bus at this t:i,/ne. ,She did not pay any attention to the man, and felt that it was someone whom she had seen there
 .......... ..., . . e. .:i.uc- QJ..Q no
                     /fl did   not   notice
                                                    LI••..., ...,....,0 ...,.., .,,;V.J.)

                                                 anything            descriptive
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                                                                                                 about        this'
                                                                                                                        ...... u .............,
                                                                                                                               man           as
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                                                                                                                                                    mentioned      prior.
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                     JUC  .::,       LIJJCI.U LIUC
                                      l,IQ,\Jt;:;U.       .                                                  --
                                                                             .., ...... uu.::, Ull.d.JO" o .................... o ..... v ........... b ..........
 bus came around the corner and this officer stopped it. The driver of the bus, Bil:j., stated that he remembered picking
                                                                                                                                                                    ........................................ ..,................. u ......
                                                                                                                                                                                                                                           '··-·· .n.... u.......... ...~, . . . , .,_
 up uue woman, {f.L ...,...,uW,;;,,..1..1.'-J
 on the bus who were. riding on this same
                                                             lLl..U               l.,     UU. U

                                                                                                         time,
                                                                                                                    UV             ,I.J.V V..1- ..... 0

                                                                                                                                                saw     nothing.
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                 #3 Atkinson is the City Bus dri Yer which #1 Schwark men ti oiled,                                                                                                                                                                                                                                                             '



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EXTRA COPIES TO                                                                          SIGNATURE                                                                                                  SIGN,HU                                                                                   APT. AVW,


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